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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                               §
                                                       §
VS.                                                    §    CRIMINAL NO. 1:21-CR-00181
                                                       §
DANIEL RAY CALDWELL


                  MOTION FOR CONTINUANCE OF PLEA DEADLINE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW, Defendant, DANIEL RAY CALDWELL, in the above styles and

numbered cause, by and through his attorney of record, John Hunter Smith and files this Motion

for Continuance of Plea Deadlines, and in support thereof would show the court as follows:

                                                 I.

       The above matter is presently set for Plea deadline on August 9, 2021.

                                                II.

       On June 17, 2021, the Government submitted the plea agreement to counsel via e-mail. The

plea agreement provided by the Government expires on August 9, 2021. On August 6, 2021,

counsel for the defendant filed a Motion To Withdraw As Counsel in (Doc. 26 ). Counsel requests

that the deadline be extended to a later date to allow new counsel an opportunity to determine the

course of action on the instant case.

                                                III.

       This motion is made in the interest of justice and not for any reason of delay.

       WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully prays the Court

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grant this Motion for Continuance.



                                            Respectfully submitted,

                                            /s/John Hunter Smith
                                            JOHN HUNTER SMITH
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                                            WYNNE & SMITH
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                                            jmsmith@wynnesmithlaw.com

                                            ATTORNEY’S FOR DEFENDANT

                      CERTIFICATE OF CONFERENCE

       I, hereby certify that on August 5, 2021, Counsel spoke with Assistant United

States Attorney, James D. Peterson and he is not opposed to this motion.


                                              /s / John Hunter Smith
                                             JOHN HUNTER SMITH


                        CERTIFICATE OF SERVICE

       I, hereby certify that on August 6, 2021, a copy of the foregoing motion was provided to

Assistant United States Attorney, Mr. James D. Peterson by CM/ECF Pacer.



                                             /s / John Hunter Smith
                                            JOHN HUNTER SMITH




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